Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                        MDL No. 3076
                                 Case No. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation

   This Document Relates To:

   Garrison v. Bankman-Fried,
   Case No. 22-cv-23753-KMM

   Garrison v. Ohtani,
   No. 23-cv-23064-KMM

   Garrison v. Golden State Warriors, LLC,
   No. 23-cv-23084-KMM

   Norris v. Brady,
   No. 23-cv-20439-KMM
                                                              /

     THE SPORTS & ENTERTAINER DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
        RENEWED OMNIBUS MOTION TO LIFT DISCOVERY STAY (ECF 538)

          The Sports & Entertainer Defendants1 respond to Plaintiffs’ Omnibus Motion to Lift

   Discovery Stay and for Leave to Conduct Jurisdictional Discovery on Sino Global Capital Limited

   (“Omnibus Motion”) (ECF 538) to the extent it seeks to lift the discovery stay – other than

   permitted jurisdictional discovery – correctly imposed by the Court months ago when Plaintiffs’

   first “Omnibus Motion” (ECF 348) was denied on this exact issue. See ECF 422 (allowing only

   jurisdictional discovery; “[a]side from the limited jurisdictional discovery permitted by this Order,




          1
           The “Sports & Entertainer Defendants” or “S&E Defendants” are Thomas Brady, Gisele
   Bündchen, Stephen Curry, Lawrence Gene David, Golden State Warriors, LLC, Udonis Haslem,
   Shohei Ohtani, Kevin O’Leary, Shaquille O’Neal, David Ortiz, Naomi Osaka, and Solomid Corp.
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 2 of 8




   this Order does not disturb the discovery stay currently in place”); see also ECF 152 (initial order

   staying discovery until at least September 19, 2023, after which parties could seek to lift the stay).

           To the extent that Plaintiffs seek to lift the general discovery stay, the Omnibus Motion

   should be denied.

                                               ARGUMENT

           The Omnibus Motion should be denied for multiple independent reasons:

           First, the Omnibus Motion should be denied because it seeks to lift the general stay only in

   passing and without any argument or support. Other than the title, the first sentence, and the

   Conclusion of the motion, Plaintiffs do not address the issue of lifting the general discovery stay;

   instead, the motion entirely focuses on Plaintiffs’ request for jurisdictional discovery from

   Defendant Sino Global Capital Limited (“SGCL”) and Plaintiffs’ related request for leave to file

   supplements to briefs directed to SGCL. See generally ECF 538. Thus, Plaintiffs provide no

   support for their offhand request to lift the general discovery stay, and their complete failure to

   provide any support waives any entitlement they could have (and they have none). “A passing

   reference to an issue in a brief is not enough, and the failure to make arguments and cite authorities

   in support of an issue waives it.” Hamilton v. Southland Christian School, Inc., 680 F.3d 1316,

   1319 (11th Cir. 2012), overruled on other grounds, United States v. Durham, 795 F.3d 1329, 1330

   (11th Cir. 2015); see also S.E.C. v. Big Apple Consulting USA, Inc., 783 F.3d 786, 811-12 (11th

   Cir. 2015) (only raising argument in a “fleeting footnote” is insufficient); Local Rule 7.1(a)(1)

   (“Every motion when filed and served shall incorporate a memorandum of law citing supporting

   authorities[.]”).

           Second, Plaintiffs did not consult with the S&E Defendants before filing the Omnibus

   Motion. By their own admission, Plaintiffs only consulted with counsel for SGCL with respect to

   the Omnibus Motion: “Plaintiffs’ Counsel certify that they have conferred with Counsel for


                                                   -2-
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 3 of 8




   Defendant Sino Global Capital Limited in a good faith effort to resolve the issues raised in this

   Motion, and report that Sino Global Capital Limited opposes the requested relief.” ECF 538 at 14

   (emphasis added). Plaintiffs’ failure to comply with the Local Rules provides an independent basis

   to deny the motion to the extent it seeks any relief beyond SGCL. See PAPERLESS ORDER (ECF

   336) at 1 (“As an initial matter, multiple Defendants have asserted that Plaintiffs wrongly

   represented that they had conferred with Defendants about the relief requested in the Motion. This

   alone is sufficient to deny the Motion.” (citing Burleigh House Condo., Inc. v. Rockhill Ins. Co.,

   2022 WL 17082909, at *6 (S.D. Fla. Nov. 18, 2022) (Goodman, M.J.) (other citations omitted));

   see also Sound Around, Inc. v. O’Donnell, 2023 WL 4234825, *2 (S.D. Fla. June 28, 2023) (Scola,

   J.) (“In light of [Plaintiffs’] repeated failure to confer, the Court is ‘justifie[d in] denying the

   motion, … .’”) (quoting Burleigh, 2022 WL 17082909, *6) (second alteration in original));

   Starship 1, LLC v. Sky Support, LLC, 2023 WL 5231807, *1 (S.D. Fla. June 24, 2024) (Sanchez,

   M.J.) (“This complete disregard of Local Rule 7.1(a)(3)’s requirements warrants denial of the

   Plaintiff's motion[.]”); Burleigh House, 2022 WL 17082909, *6 (“[T]here is no factual dispute

   about the conferral: it did not occur … . This justifies an Order denying the motion[.]”); United

   States v. Marder, 2016 WL 2897407, *7 (S.D. Fla. May 18, 2016) (Moore, J.) (“Both motions lack

   the requisite 7.1(a)(3) certification and thus denying the motions is an appropriate sanction.”

   (citation omitted)).2




          2
             Local Rule 7.1(a)(3) states, “Prior to filing any motion in a civil case, … counsel for the
   movant shall confer (orally or in writing), or make reasonable effort to confer (orally or in writing),
   with all parties or non-parties who may be affected by the relief sought in the motion in a good
   faith effort to resolve by agreement the issues to be raised in the motion. … Failure to comply with
   the requirements of this Local Rule may be cause for the Court to grant or deny the motion and
   impose on counsel an appropriate sanction, which may include an order to pay the amount of the
   reasonable expenses incurred because of the violation, including a reasonable attorney’s fee.”
   (emphasis added).
                                                    -3-
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 4 of 8




          Third, there is no basis to lift the discovery stay. This is the second time Plaintiffs have

   sought to lift the general discovery stay. The Court denied Plaintiffs’ first attempt three months

   ago: “Insofar as Plaintiffs request a lift of the discovery stay altogether, such request is denied

   until the Court adjudicates the outstanding motions to dismiss.” Order (ECF 422) at 5 (emphasis

   added). Nothing has changed, so there is no reason for the Court to revisit its ruling. As the S&E

   Defendants previously argued, “[t]his proceeding is still exactly the type of case where a stay of

   discovery pending rulings on case-dispositive motions to dismiss is warranted: one raising novel,

   unfounded claims in unquestionably costly litigation against multiple defendants. See Chudasama

   v. Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997) (‘Facial challenges to the legal

   sufficiency of a claim ... should ... be resolved before discovery begins.’).” ECF 314 at 2; see also

   ECF Nos. 124, 149 (additional briefing on this issue by the S&E Defendants).3

                                              CONCLUSION

          The Court has been very clear that this case is one where discovery is properly stayed

   pending the Court’s adjudication of the motions to dismiss. See ECF Nos. 152 & 422. And as to

   the S&E Defendants in particular, the Court has observed that this is a “complex and costly

   litigation for all parties involved.” Order (Garrison ECF No. 133) at 3 (also noting “Plaintiffs have

   repeatedly failed to comply with the Local Rules”).

          Accordingly, to the extent Plaintiffs request that the Court lift the general discovery stay,

   the Omnibus Motion should be denied.



          3
             In their reply, Plaintiffs may not now make arguments that they failed to raise in the
   Omnibus Motion. See Local Rule 7.1(c)(1) (“reply memorandum shall be strictly limited to rebuttal
   of matters raised in the memorandum in opposition without reargument of matters covered in the
   movant’s initial memorandum of law”). The S&E Defendants have addressed Plaintiffs’ wholesale
   failure to provide any argument for lifting the stay above; Plaintiffs may not stretch that into
   grounds to make an argument they have failed to raise and have waived. However, to the extent
   necessary and should Plaintiffs improperly choose to do so in their reply, the S&E Defendants
   incorporate by reference their arguments as set out in ECF Nos. 124, 149 & 314.
                                                   -4-
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 5 of 8




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                                      -5-
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 6 of 8



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                                      -6-
Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 7 of 8



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Case 1:23-md-03076-KMM Document 574 Entered on FLSD Docket 04/02/2024 Page 8 of 8



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